Case 23-40709   Doc 70-7 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
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                           Exhibit G
       Case 23-40709                   Doc 70-7 Filed 01/16/24 Entered 01/16/24 13:03:39                                                      Desc Exhibit
                                         G - Babcock & Brown Withdrawal Page 2 of 3


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                                 V3e, Commonbnaltli of Iffasoacfmottto
FPC                                                               WiRiamliandsCralvin
                                                              Secretary of the Commonwealth
                                             One Ashburron Place, Boston, Massachusetts 02108.1512



             FORAF.. MUST BE TYPED         Foreign Certificate of Withdrawat                FORM MUST RE TYPED
                                 (General Laws Chapter 156D, Section 15.20; 950 CIVIR 113.51)

             (1) Exact name of corporation: Babcock & Brown Administrative Services, Inc.

             (2) Jurisdiction of Incorporation: Delaware
                                                                                  10/23/1997
                 Date ef incorporation!        • ---- .
                                                                               (month, day icar)

             (.3) The COrporetion is nor transacting business in the commonwealth.

             (4) Mr corporation surrenders ins authority t transact business in the commonwealth.

             (5) The corporation revokes the authority of its registered agenr to accepr set-vice on its behalf.

             (6) The So:misty oldie Commonwealth is hereby appointed as its agent for service of process in any proceeding bated on a muse
                 of action arising during the rime It mars authorized to transact business in the commonwealth.

             (7) 11)r torporulon's mailing address to which the Division may mall a copy of any process served on it'

                  2 Harrison Street, 6th ploor, San Francisco, CA 94105
                                                             (number, street, city or uwn, sore, zip code)

         (8) The corporation shall notify the Division In the future of any changes to the above mailing address by filing a certificate of
             amendment

         (9) The corporation hereby certifies that all taxes known to the cotpotation to be duc the commonwealth have been paid or pm-
             vitted for.

         (t 0)Th is 4Xltifiteth is effective at the time and on the dart approved by the Division, unless darer offective date nor more than 90
              der from the date of filing is specified:



         Signed by.
                                                                     (aignxture ofauthoriged indioidacd)
                 O Chairman of          hoard of directors,
                 O PresIdelic,
                      Other officer
                      Coumappointedhduciary,



         on this 17th                                 day of April                                                 , 20011




P.C.                                                                                                                                   esed,unotirkir7,4,1ornus
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    Case 23-40709    Doc 70-7 Filed 01/16/24 Entered 01/16/24   13:03:39 Desc Exhibit
                       G - Babcock & Brown Withdrawal Page 3 of 3




                         THE COMMONWEALTH OF MASSACHUSETTS



         I hereby certify that, upon examination of this document, duly submitted to me, it appears

         that the provisions of the General Laws relative to corporations have been complied with,

             and I hereby approve said articles; and the filing fee having been paid, said articles are

                                     deemed to have been filed with me on:
                                              April 24, 2008 11:52 AM




                                         WILLIAM FRANCIS GALVIN

                                         Secretary of the Commonwealth




251483-1-0
